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11      Plaintiff Sergey Grishin
12
                       THE UNITED STATES DISTRICT COURT
13                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
        Sergey Grishin, an                    Case No. 2:18-cv-10179
15      individual,
16                                            Complaint for:
                    Plaintiff,
17                                            1. Copyright Infringement;
               v.
18                                            2. Defamation Per Se;
        Jennifer Sulkess, an                  3. Defamation Per Quod;
19
        individual, and Does 1–10,            4. Public Disclosure of Private
20                                               Facts;
                    Defendants.               5. Injunction
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23                                            Jury Trial Demand

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                                     Complaint
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 1           Plaintiff Sergey Grishin (“Grishin”) asserts the following claims against
 2      Defendant Jennifer Sulkess (“Sulkess”) and Does 1–10 and alleges as fol-
 3      lows:
 4      I.   SUBJECT MATTER JURISDICTION
 5           1.   This Court has subject matter jurisdiction under 28 U.S.C. § 1331
 6      (federal question), 28 U.S.C. § 1332 (complete diversity), and 28 U.S.C. §
 7      1367 (supplemental jurisdiction).
 8      II. VENUE
 9           2.   Venue is proper in this District under each of the following grounds:
10                A.   28 U.S.C. § 1391(b)(2) (federal question jurisdiction), because a
11      substantial part of the events or omissions giving rise to the claims occurred
12      in this District;
13                B.   28 U.S.C. § 1400(a) (copyright jurisdiction), because a

14      defendant or her agent resides or may be found in this District; and

15                C.   28 U.S.C. § 1391(b)(1) and § 1391(c) (personal jurisdiction),
        because all defendants are subject to personal jurisdiction in this State and
16
        at least one is in this District.
17
        III.      THE PARTIES & PERSONAL JURISDICTION
18
             3.   Grishin is an individual and a citizen of Russia.
19
             4.   Sulkess is an individual and a citizen of the United States of Amer-
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        ica. At all relevant times, Sulkess is and was domiciled in the county of Los
21
        Angeles, California.
22
             5.   The true names and identities of the defendants herein sued as
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        Does 1 through 10, inclusive, are unknown to Grishin. He therefore sues
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        those defendants by such fictitious names. When the true names of those
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        defendants have been ascertained, Grishin will amend this complaint ac-
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        cordingly. Each of the defendants aided and abetted and is responsible in
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        some manner for the occurrences herein alleged, and Grishin’s injuries were
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 1      proximately caused thereby. Defendant Sulkess and Does 1 through 10, in-
 2      clusive, shall collectively be referred to herein as “Defendants.”
 3      IV. STATEMENT OF FACTS
 4           6.   This action arises from Defendant Sulkess’ misuse of copyrighted
 5      videos created by Grishin (the “Copyrighted Works”).
 6           7.   Grishin has filed applications for the registration of certain Copy-
 7      righted Works are currently pending with the United States Copyright Of-
 8      fice. Certain applications have been granted, but a registration number has
 9      not yet been assigned.
10           8.   Sulkess obtained the Copyrighted Works. Grishin did not authorize
11      Sulkess to publish, copy, or use the Copyrighted Works in any manner.
12           9.   After obtaining the Copyrighted Works, Sulkess published the Cop-
13      yrighted Works on social media. Sulkess also published derivative works
14      that Sulkess created using the Copyrighted Works (the “Derivative Works”).
15           10. Sulkess’ publications in paragraph 9 were without the permission
16      of Grishin.
17           11. In November 2018, Sulkess repeatedly published the Copyrighted
18      Works on the Internet.
19           12. For example, on November 19, 2018, Sulkess published the Copy-
20      righted Works on her public Facebook page. With the publication, Sulkess
21      added the following statement: “My friend and business partner, Anna Fe-
22      doseeva and I have been stalked, harassed, threatened and terrorized by
23      her soon to be ex husband, Sergey Grishin. . . . I need everyone to see the
24      kind of man this person is. He has tried to destroy both mine and her lives
25      and we need help. . . . Anna went back to Moscow . . . and Sergey had her
26      arrested” (the “Defamatory Statement”). The Defamatory Statement has
27      been further published by at least one other person.
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 1           13. The Defamatory Statement is untrue and falsely accuses Grishin of
 2      a crime. The Defamatory Statement constitutes libel pursuant to Cal. Civ.
 3      Code §45. Because the Defamatory Statement accuses Grishin of a crime,
 4      the statement constitutes defamation per se which has caused harm to
 5      Grishin’s reputation. Cal. Civ. Code § 45a. It is also defamatory because it
 6      implies that Grishin had Fedoseeva arrested, as opposed to what actually
 7      happened: the government arrested Fedoseeva because she committed sev-
 8      eral crimes.
 9           14. In addition, Sulkess has published on her public Facebook page, a
10      letter written by Grishin. That letter contains personal information includ-
11      ing Grishin’s addresses, telephone numbers and his passport number. Alt-
12      hough Sulkess attempted to redact this private information, the redaction
13      was insufficient. The information is still viewable. The Defamatory State-
14      ment coupled with Grishin’s personal contact information poses a serious
15      danger to Grishin’s safety.
16      V. CLAIMS FOR RELIEF
17                        FIRST CLAIM FOR RELIEF
18              (For Copyright Infringement Against All Defendants)

19           15. Grishin repeats and reallges the allegations set forth in paragraphs

20      1 through 14, inclusive, as though fully set forth herein.

21           16. Grishin is and at all relevant times has been the sole owner of the

22      Copyrighted Works.

23           17. Grishin has filed applications with the United States Copyright Of-

24      fice for the registration of certain Copyrighted Works. Certain applications

25      have been granted, but a registration number has not yet been assigned.

26           18. Grishin is the undisputed creator of the Copyrighted Works.

27           19. In November 2018, Sulkess repeatedly published the Copyrighted

28      Works on the Internet.

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                                      Complaint
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 1           20. Sulkess did not have Grishin’s permission for these publications.
 2           21. In addition, Sulkess, without the permission of Grishin, created the
 3      Derivative Works. Sulkess has published the Derivative Works on the In-
 4      ternet.
 5           22. Sulkess did not seek Grishin’s permission to publish the Copy-
 6      righted Works or the Derivative Works prior to doing so or at any time there-
 7      after. Nor has Grishin provided his permission.
 8               23.   Grishin is entitled to permanent injunctive relief preventing
 9      Sulkess, and her officers, agents, and employees, and all related persons
10      from further using the Copyrighted Works, Derivative Works, or engaging
11      in other acts in violation of copyright law.
12               24.   Grishin is entitled to damages according to proof at the time of
13      trial.
14               25.   In doing the acts herein alleged, Sulkess acted fraudulently, will-
15      fully, and with malice, and Grishin is therefore entitled to punitive damages
16      according to proof at the time of trial.
17                           SECOND CLAIM FOR RELIEF
18                     (For Defamation Per Se Against All Defendants)

19           26. Grishin repeats and reallges the allegations set forth in paragraphs

20      1 through 14, inclusive, as though fully set forth herein.

21           27. Sulkess made the Defamatory Statement which was published on

22      her public Facebook page and disseminated to individuals other than

23      Grishin.

24           28. The Defamatory Statement constitutes libel per se under California

25      Civil Code §§ 45 and 45a, as it accuses Grishin of a crime.

26           29. The Defamatory Statement is false, not privileged, and has a natu-

27      ral tendency to cause damage.

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30                                        –4–
                                        Complaint
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 1           30. The individuals who reviewed the Defamatory Statement reasona-
 2      bly understood the statement to be about Grishin.
 3           31. Sulkess failed to use reasonable care to determine the truth or fal-
 4      sity of the Defamatory Statement.
 5           32. Grishin has been damaged as a result of Sulkess’ defamation and
 6      is entitled to recover damages.
 7           33. Even if Grishin is unable to prove actual damages, Grishin is enti-
 8      tled to reasonable damages for this assumed harm.
 9           34. In doing the acts herein alleged, Sulkess acted fraudulently, will-
10      fully, and with malice, and Grishin is therefore entitled to punitive damages
11      according to proof at the time of trial.
12           35. Grishin is further entitled to preliminary and permanent injunctive
13      relief requiring Sulkess to remove the Defamatory Statement from her Fa-
14      cebook page and further prohibiting her from posting additional defamatory
15      statements regarding Grishin.
16                         SECOND CLAIM FOR RELIEF
17                 (For Defamation Per Quod Against All Defendants)

18           36. Grishin repeats and reallges the allegations set forth in paragraphs

19      1 through 14 and 27–35, inclusive, as though fully set forth herein.

20           37. Sulkess made the Defamatory Statement which was published on

21      her public Facebook page and disseminated to individuals other than

22      Grishin.

23           38. People reasonably understand that the Defamatory Statement re-

24      gards Grishin.

25           39. The Defamatory Statement is false, not privileged, and has a natu-

26      ral tendency to cause damage. The Defamatory Statement was false because

27      it implies that Grishin had Fedoseeva arrested, as opposed to what actually

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 1      happened: the government arrested Fedoseeva because she committed sev-
 2      eral crimes.
 3           40. The Defamatory Statement exposed Grishin to hatred, contempt,
 4      or ridicule. The Defamatory Statement has prompted news articles that por-
 5      tray Grishin in a negative and false light. This caused harm to Grishin, and
 6      the Defamatory Statement was a substantial factor in causing that harm.
 7           41. Sulkess failed to use reasonable care to determine the truth or fal-
 8      sity of the statement.
 9                       FOURTH CLAIM FOR RELIEF
10        (For Public Disclosure of Private Facts Against All Defendants)

11           42. Grishin repeats and realleges the allegations set forth in para-

12      graphs 1 through 14, inclusive, as though fully set forth herein.

13           43. Article 1, Section 1 of the California Constitution guarantees every

14      person a right to privacy. This right prohibits a person from publicly disclos-

15      ing the private information of another person.

16           44. As set forth herein, Sulkess has publicly disclosed certain of

17      Grishin’s private information, including, but not limited to, his addresses

18      and his passport number.

19           45. Sulkess’ disclosure is offensive and objectionable to a reasonable

20      person, particularly in light of Sulkess’ Defamatory Statement regarding

21      Grishin.

22           46. There was no legitimate public concern that justifies the public dis-

23      closure of Grishin’s private contact information on Sulkess’ public Facebook

24      page.

25           47. As a result of Sulkess’ disclosure, Grishin has been damaged ac-

26      cording to proof to be determined at the time of trial.

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                                     Complaint
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 1           48. Grishin is also entitled to an injunction requiring Sulkess to remove
 2      Grishin’s private information from her Facebook page and prohibiting her
 3      from posting such information in the future.
 4                       FIFTH CLAIM FOR RELIEF
 5       (For a Temporary Restraining Order, Preliminary Injunction, and
                  Permanent Injunction Against All Defendants)
 6
             49. Grishin repeats and realleges the allegations set forth in para-
 7
        graphs 1 through 14, inclusive, as though fully set forth herein.
 8
             50. As set forth herein Sulkess has published, without Grishin’s per-
 9
        mission, (1) Grishin’s Copyrighted Works, (2) the Derivative Works, (3) a
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        statement regarding Grishin that constitutes defamation per se and per
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        quod, and (4) Grishin’s private contact information (collectively, the “Unau-
12
        thorized Publications”).
13
             51. Grishin seeks a temporary restraining order, preliminary injunc-
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        tion, and permanent injunction (1) requiring Sulkess to remove the Unau-
15
        thorized Publications and (2) preventing Sulkess from posting any addi-
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        tional Copyrighted Works, personal contact information or defamatory
17
        statements regarding Grishin.
18
                                   PRAYER FOR RELIEF
19
        As to the First Claim for Relief:
20
              1.    For an order restraining Sulkess from using, selling, posting, or
21
        displaying the Copyrighted Works or any derivative works;
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              2.    For an award of actual and/or statutory damages according to
23
        proof;
24
              3.    For punitive and/or exemplary damages;
25
              4.    For attorney’s fees and costs;
26
        As to the Second Claim for Relief:
27
              5.    For an order requiring Sulkess to remove the Defamatory
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                                     Complaint
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 1      Statement from her Facebook page and prohibiting her from posting defam-
 2      atory statements regarding Grishin in the future;
 3            6.    For an award of damages according to proof;
 4            7.    For punitive and/or exemplary damages;
 5      As to the Third Claim for Relief:
 6            8.    For an order requiring Sulkess to remove the Defamatory State-
 7      ment from her Facebook page and prohibiting her from posting defamatory
 8      statements regarding Grishin in the future;
 9            9.    For an award of damages according to proof;
10            10.   For punitive and/or exemplary damages;
11      As to the Fourth Claim for Relief:
12            11.   For an award of damages according to proof;
13            12.   For punitive and/or exemplary damages;
14            13.   An order requiring Sulkess to remove Grishin’s private infor-
15      mation from her Facebook page;
16      As to the Fifth Claim for Relief:
17            14.   For a temporary restraining order, preliminary injunction, and
18      permanent prohibiting Sulkess from (i) posting the Copyrighted Works and
19      any derivative works; (ii) posting defamatory statements about Grishin, and
20      (iii) publishing Grishin’s private information;
21      As to All Causes of Action:
22            12.   For costs of suit; and
23            13.   For such other and further relief as the Court may deem proper.
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                                     Complaint
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 1
     Dated: December 7, 2018            Pierce Bainbridge Beck Price &
 2                                      Hecht LLP
 3
 4
 5                                      Amman Khan
 6                                       Counsel for Plaintiff
 7                                       Sergey Grishin

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                                  Complaint
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 1
 2                          DEMAND FOR JURY TRIAL

 3
 4          Plaintiff Sergey Grishin, hereby demands a trial by jury on all issues

 5   to which he is entitled a jury.

 6
     Dated: December 7, 2018            Pierce Bainbridge Beck Price &
 7                                      Hecht LLP
 8
 9
10                                      Amman Khan
11                                       Counsel for Plaintiff
                                         Sergey Grishin
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                            Demand for Jury Trial
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